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                        THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

ROBERT GONZALEZ,                                )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )                     Case No.: 1:18-cv-341
                                                )
RAJESH PAVITHRAN, et al.,                       )
                                                )
        Defendants.                             )

                     NOTICE OF HEARING ON MOTION TO DISMISS

        PLEASE TAKE NOTICE that on Friday, May 18, 2017, at 10:00 a.m., or as soon

thereafter as counsel may be heard, Defendants, by and through counsel, will move the Court

to dismiss the Complaint pursuant to Fed. R. Civ. Pro 12(b)(6) as set forth in the memorandum

of points and authorities filed contemporaneously with this Notice.

                                                    Respectfully submitted
                                                    RAJESH PAVITHRAN
                                                    KELVIN BOON LLC
                                                    By counsel

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of April 2018, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, and sent by first class mail, postage

prepaid copy of notice to the following:

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